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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ELEMICA, INC.,
                                          C.A. No. 21-893-SB
       Plaintiff,

               v.

ECMARKET, INC. d/b/a
CONEXIOM INC.,

       Defendant.

          DEFENDANT/COUNTER-PLAINTIFF ECMARKET, INC.’S
       RESPONSE IN OPPOSITION TO ELEMICA, INC.’S MOTION FOR
    SUMMARY JUDGMENT ON BREACH OF CONTRACT AND DEFAMATION


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I.     Introduction

       Elemica seeks to avoid a trial on ecMarket’s claims so the jury does not consider Elemica’s

defamatory statements and breach of the parties’ agreement. The Motion, however, lacks legal and

factual support, and genuine issues of material fact remain precluding summary judgment.

       Elemica does not dispute the defamatory statements in the “Muse Email” malign

ecMarket’s reputation, business, trade and profession, and constitute defamation per se under

Delaware law. Elemica also does not argue that its defamatory statements were true. Rather,

Elemica seeks summary judgment based on ecMarket’s alleged inability to prove reputational

harm. However, under Delaware law, ecMarket need not prove reputational harm for the jury to

award ecMarket nominal, compensatory and/or punitive damages. Further, at trial, ecMarket can

and will demonstrate that Elemica’s defamatory statements were made with reckless disregard for

the truth, which provides the jury with an additional legal basis to award damages. In any event,

Elemica is not entitled to summary judgment on ecMarket’s claim for defamation per se.

       Elemica also argues that summary judgment is appropriate on ecMarket’s breach of

contract claim because Amendment #6 is unambiguous and Elemica had the unfettered right to

deactivate any “SpokeCos” or “trading partners” and still receive a discount on the fees charged

by ecMarket. However, Elemica’s own witnesses have admitted Amendment # 6 does not reflect

the complete agreement reached by the parties. Elemica breached the parties’ complete agreement

by deactivating most of the trading partners they agreed to keep in ecMarket’s Production

Environment. Elemica’s heavy reliance solely on the language in Amendment #6 is misplaced, as

Amendment #6 is not a fully integrated contract. As such, this Court can consider extrinsic

evidence that supplements the terms in Amendment #6. Elemica’s efforts through litigation to

change a deal that its own witnesses admit never changed should not be condoned.
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       Elemica’s waiver and spoliation arguments fare no better. At a minimum, there is a

disputed question of fact as to whether ecMarket intentionally waived Elemica’s contractual

obligation not to deactivate the “Specific Maps” (as defined infra). Elemica cannot credibly claim

there was spoliation when it received the business records evidencing Elemica’s deactivation of

the Specific Maps. Elemica could attempt to refute such documents with its own business records

and/or witness testimony, but has been unable to do so. At bottom, the deletion of certain data

contained within ecMarket’s client database was neither intentional nor prejudicial to Elemica.

II.    ecMarket’s Supplemental Statement of Facts

       Elemica’s “Concise Statements Of Facts,” fails to provide a full and complete summary of

the relevant facts obtained through discovery. Most notably, as set forth infra, Elemica ignores the

testimony of its own witnesses admitting “Amendment #6” to the Rollout Agreement does not

reflect the parties’ full agreement. ecMarket provides the following supplemental statement to

provide a full and complete picture of the facts relevant to the disposition of Elemica’s Motion.

       A.      ecMarket Agrees To Provide A Discount to
               Elemica For Approximately 1,300 Specific Dormant Maps.

       Within the Rollout Agreement, the customers of Elemica’s customers were referred to as

“trading partners” or “Spokecos.” See Mot., Ex. C, p.1 (“Purpose”). A “Map” was a specific

template that defined how to convert a Spokeco purchase order from ecMarket’s proprietary XML

format into Elemica’s Flat File format. See Ex. 1 (February 20, 2014 Addendum to Rollout

Agreement), p.2. ecMarket charged Elemica a monthly “production service fee” for each

“Spokeco” in production (known as ecMarket’s “Production Environment”). Id. ecMarket also

charged Elemica a separate, one-time “Pre-Production Service Fee” for each new Map ecMarket

created for a new Spokeco during a given month. Id. at 2-3. From time to time, Maps created for

certain Spokecos would become “dormant” meaning that the Spokeco was no longer submitting



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purchase orders. See Ex. 2 (Dep. of Vince Squillaciotti (Elemica)), p.39, ll.7-17, p.44, ll.4-12.

Although Elemica was paying for dormant Maps in the Production Environment, ecMarket was

not automating any purchase orders for those Spokecos. Id.

        On April 1, 2019, Elemica emailed ecMarket’s then CEO, Brent Halverson, requesting that

“the Maps set forth in the attached excel spreadsheet be moved out of the Production environment

effective immediately.” See Ex. 3. The “re” line referred to “1300 Dormant Maps,” and the

attached spreadsheet identified the specific Maps to be removed from ecMarket’s Production

Environment (the “Specific Maps”). Id. 1 Mr. Squillacioti explained “[t]he Maps are not used by

our customers and thus should not be in the Production environment … and thus pursuant to our

ERP Rollout Agreement, should not be charged going forward.” Id. If “dormant” Maps were

removed from the Production Environment, the fees paid by Elemica would necessarily go down.

See Ex. 4 (Dep. of Anthony Palladino (Elemica), p.21, ll.9-18, p.44, l.23 – p. 45, l.5.

        In response, ecMarket presented Elemica with two options. See Ex. 5 at ECM 014. Option

1 would keep the Specific Maps in ecMarket’s Production Environment, but charge Elemica a

discounted monthly fee for those Specific Maps going forward. Id. Under “Option 2,” ecMarket

would charge Elemica a one-time fee of $65,000 to remove the Specific Maps from the Production

Environment, but Elemica would incur a “new mapping fee” (i.e., a Pre-Production Service Fee)

for ecMarket to create a new “Map” if the SpokeCo chose in the future to automate sales orders

again. Id.; see also Ex. 2 (Squillaciotti), p. 90, ll.7-24. Via Vince Squillacioti’s April 9, 2019 email,

Elemica agreed to Option 1, which would keep the Specific Maps in the Production Environment,

but at reduced fees. See Ex.5 at ECM 014.



1
 The spreadsheet attached to Mr. Squillaciotti’s email specifically identified 1219, rather than
1,300, Maps. The Maps identified in Mr. Squillacioti’s spreadsheet will be referred to as the
“Specific Maps.”


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        Elemica disputes the discount it received applied to any specific set of “trading partners.”

See Mot. at 4. However, Elemica’s witnesses conceded Elemica agreed to “Option 1,” which

applied to a specific list of trading partners, i.e., the Specific Maps, and that the agreement reached

via email between the parties never changed after April 9, 2019. More specifically, Mr. Squillacioti

testified that he wanted the “Specific Maps” removed from the Production Environment, and

confirmed the agreement reached was for a discount to be applied to those “Specific Maps”

referenced on the spreadsheet he sent to ecMarket. See Ex. 2, p.73, ll.10-15, p. 77, l.16 – p.78, l.3,

p. 80, l.7 – p.81, l.16, p. 96, l.11 – p. 97, l.5. Mr. Squillacioti testified that he has no knowledge

of the agreement changing prior to August 2020 (when Elemica terminated his employment). Id.,

p.23, l.16 – p. 24, l.1, p.99, ll.16-24, p.102, l.24 – p.103, l.10.

        Anthony Palladino was Elemica’s Chief Financial Officer during the relevant time period.

See Ex. 4, p.11, l.3 – p. 12, l.7. Although copied on the relevant emails, Mr. Palladino testified he

was not aware of Elemica’s request for the removal of the Specific Maps and did not recall having

any discussions with anyone at Elemica regarding that request during the relevant time frame. Id.,

p.22, ll.2-7, p. 24, l.23 – p. 25, l.6. Although he had no involvement in the preparation of

Amendment #6, Mr. Palladino conceded that the reference to “1,300” in that document was a

reference to a specific list of dormant maps. Id., p.24, ll.10-15, p.32, l.5 – p. 33, l.10. Mr. Palladino

did not perform any investigation to determine whether the Specific Maps were subsequently

deactivated and removed from ecMarket’s Production Environment. Id., p.34, l.15 – p.35, l.9.

        On July 17, 2019, ecMarket’s then CEO (Brent Halverson) sent Elemica’s in-house counsel

(Brad Delizia) a proposed addendum to the Rollout Agreement. See Ex. 6. Notably, Halverson’s

email to Delizia included the email chain whereby Elemica originally requested the removal of the

Specific Maps and agreed to “Option 1.” Id. The proposed amendment provided Elemica with a




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discount pursuant to a formula: “Credit = P x F x 1,300.” Id. Upon receiving the draft addendum

and the email chain that accompanied it, Elemica’s in-house counsel, Brad Delizia, referenced the

Specific Maps and stated: “Just want to confirm that the 1300 Dorman[t] Maps is [sic] counted as

in Production when we go to the table in Exhibit 1(a) - # of unique Spokeco to Customer

relationships in Production.” Id. (emphasis added). Halverson confirmed that Delizia’s

understanding was correct. Id. The parties signed Amendment #6, but the amendment did not

indicate that it was a fully integrated contract. See Mot. at Ex. D.

       When deposed, Mr. Delizia (Elemica’s Rule 30(b)(6) witness on this issue) attempted to

evade answering direct questions regarding the parties’ agreement. See Ex. 7 (Dep. of Brad

Delizia), p. 111, l. 12 – p. 112, 1.14, p.124, l.3 – p.130, l.8. Ultimately, Mr. Delizia, who was

copied on all relevant emails, conceded:

       -   He was not involved in Elemica’s request to deactivate the Specific Maps. Id.,
           p.114, ll.3-15;

       -   Elemica’s April 1, 2019 request was regarding specific dormant maps that
           remained in ecMarket’s Production Environment. Id., p.116, l.12 – p. 117, l.17;

       -   Elemica agreed to Option 1 in Mr. Toffoli’s email. Id., p.120, l.24 – p.121, l.14;

       -   He never spoke with Brent Halverson regarding the proposed addendum. Id.,
           p.122, l.22 – p.123, l.3;

       -   He had no knowledge of the deal changing after the parties reached an
           agreement via email on April 9, 2019. Id., p.132, l.6 – p. 133, l.20;

       -   He made no revisions to the proposed addendum, but only asked a clarifying
           question. Id., p. 133, l.22 – p.134, l.3;

       -   Despite being copied on the email chain between Mr. Squillacioti and Mr.
           Toffoli, Delizia testified that the reference to the “1,300” in Amendment #6 was
           not a reference to the Specific Maps, but just a “constant.” Id., p.138, l.14 –
           p.141, l.10;




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        -    He was not aware of and not a part of any conversations with ecMarket when
             the parties discussed any type of discount other than the discount ecMarket
             agreed to provide through “Option 1.” Id., p.142, l.11 – p.143,1.14; and

        -    He does not know whether the Specific Maps remained in the Production
             Environment or were deactivated by Elemica. Id., p.148, l.24 – p.149, l.8.

        It is ecMarket’s position that “P” stood for the % discount (25%, 50% or 75%), while F

stood for the monthly Production Service Fee charged by ecMarket for SpokeCos in the Production

environment. See Ex. 8 (Dep. of Mark Toffoli (ecMarket)), p.77, l.16 – p.78, l.9. 1,300, however,

was not a “constant” unrelated to the Specific Maps. Rather, it was a reference to the Specific

Maps which would stay in the Production Environment per the parties’ agreement reached via

email on April 9, 2019. Id., p.75, l.6 – p.77, l.5.

        B.      Elemica Fails To Pay All Amounts Due To ecMarket

        In October 2021, a disagreement arose between the parties regarding the application of the

discount, the deactivation of the Specific Maps and the amounts due from Elemica for outstanding

invoices issued by ecMarket. See Exs 9-11. It was not until the fall of 2021 that ecMarket’s

accounting department learned that Elemica had deactivated most of the Specific Maps. See Ex.10.

During these email communications, Elemica took the position for the first time that it was entitled

to a flat discount per Amendment #6 without regard to whether the Specific Maps had been

deactivated and removed from the Production Environment. See Exs. 10-11. ecMarket disagreed

with Elemica’s position and provided Elemica with a copy of the email correspondence reflecting

the agreement reached by the parties on April 9, 2019. See Ex. 10.

        During discovery, ecMarket proffered a Rule 30(b)(6) witness (Monika Brar) who prepared

a detailed spreadsheet and testified regarding the outstanding amounts owed by Elemica and the

method by which ecMarket calculated the amounts due and owing. See Ex. 12 (Dep. of Monika

Brar), p. 18, l.5 – p.19, l.13; Ex. 13. ecMarket produced the invoices supporting Ms. Brar’s



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calculation of Elemica’s damages and her testimony that Elemica owes ecMarket $318,926.67.

See Ex. 12, p.11, l.22 – p.13, l.2; Ex. 13; Ex. 14. Elemica does not challenge Ms. Brar’s conclusion.

       Still further, even if Elemica’s disputed view of the parties’ agreement is correct (which it

is not), there is still an outstanding balance of $20,330.10 owed by Elemica to ecMarket. See Ex.

15 (Affidavit of Monika Brar), at ¶¶ 5-10; see also Ex. 16.

       C.      Elemica Deactivates The Majority Of Specific
               Maps Prior To The Expiration Of The Rollout Agreement

       During fact discovery, John Cadigan testified as ecMarket’s Rule 30(b)(6) witness

regarding the deactivation of the Specific Maps. Mr. Cadigan testified at length regarding the

spreadsheet (see Ex. 17) he put together through his review and analysis of ecMarket’s business

records. See Ex. 18 (Dep. of John Cadigan – Vol. I), p.28, l.9 – p.32, l.20. Mr. Cadigan explained

how the spreadsheet reflects which Specific Maps were deactivated and when they were

deactivated. Id. Still further, Mr. Cadigan explained the source documents from which he created

his spreadsheet. See Ex. 19 (Dep. of John Cadigan – Vol. II), p.4, l.15 – p.5, l.23. Thereafter,

ecMarket produced copies of all the invoices and source documents supporting Mr. Cadigan’s

spreadsheet and the amounts due ecMarket for the unpaid invoices. See Ex. 20.

       In its Motion, Elemica fails to disclose Mr. Cadigan’s testimony, his spreadsheet or the

existence and production of these source documents. Elemica also fails to proffer any evidence

refuting Mr. Cadigan’s testimony or his spreadsheet, which demonstrates that Elemica deactivated

1,132 of the Specific Maps before the expiration of the Rollout Agreement. See Ex. 17 at

“Summary” tab; Ex. 19, p.18, l.15 – p. 19, l.2.

       Instead, Elemica asserts that ecMarket’s deletion of certain Elemica data following the end

of the parties’ contractual relationship prevents confirmation that the Specific Maps were removed




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prior to the expiration of the Rollout Agreement. See Mot. at 5. This statement is misleading and

demonstrably false.

       Mr. Cadigan explained he relied upon the data in the monthly billing reports and invoices

provided to Elemica during the term of the Rollout Agreement to determine which Specific Maps

were removed from the Production Environment and when the removal took place. See Ex. 18,

p.30, ll.2-15; Ex. 19, p.5, ll.2-23, p.21, ll.9-15. ecMarket provided this information to Elemica

during the parties’ contractual relationship and produced it again during discovery. See Ex. 20.

       Elemica also asserts that ecMarket had to “approve” Elemica’s requests to deactivate

trading partners. See Mot. at 5. This is misleading. While Elemica did not have the ability to

deactivate trading partners on its own, ecMarket would not have to “approve” any such request.

See Ex. 22 (the Affidavit of John Cadigan) at ¶ 15. Putting aside the parties’ agreement as to the

Specific Maps, Elemica could and did submit requests to the mapping department requesting to

deactivate “maps.” Id. Those requests would have been routinely fulfilled by ecMarket’s mapping

department without seeking approval from ecMarket management. Id.

       D.      ecMarket Removed Certain Elemica Data For
               Security Purposes In The Ordinary Course Of Its Business

       Without a supporting citation, Elemica states there “can be no confirmation as to the

specific trading partners that were removed prior to the expiration of the Rollout Agreement”

because ecMarket “removed its Elemica database and it cannot be restored.” See Mot. at 5. There

is no support for Elemica’s bald conclusory statement because it is not accurate.

       As explained in Mr. Cadigan’s affidavit, ecMarket’s deletion of certain data in the ordinary

course of its business did not destroy relevant evidence that prevents ecMarket from proving the

removal of the Specific Maps. See Ex. 22 (Affidavit of John Cadigan). More specifically, Mr.

Cadigan relied upon billing reports and invoices generated during the parties’ contractual



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relationship and extracted from ecMarket’s ERPLink Database prior to any deactivations or

deletions of any “Elemica Data.” Id., ¶¶ 11-13. Thus, the billing reports are an original, reliable

source of evidence – evidence that ecMarket provided to Elemica during the parties’ relationship

and yet again in discovery. Id., ¶¶ 11, 12. 2

        E.      The Muse Email Is Sent To All Elemica Customers Using Conexiom

        In early November 2021, ecMarket sent a series of marketing emails to a handful of its own

prospective customers who were using Conexiom through Elemica at that time. Exhibit E to the

Motion reflects those emails being sent by ecMarket only to six (6) of its prospective customers.

        In response, on November 9, 2021, Elemica’s then CEO (David Muse) sent his defamatory

email to over one-hundred and fifty (150) individuals at all thirty-eight (38) of the customers using

Conexiom at that time through Elemica. See Ex. 24 (Elemica’s 2nd Amend. Resp. to ecMarket’s

First Set of Interrogs.), at pp. 8-12. In its March 28, 2023 Opinion, the Court found at least three

statements in the Muse Email actionable as defamation per se. See Dkt.51 at 7-9. Elemica does not

suggest or argue otherwise. Rather, it seeks summary judgment because ecMarket allegedly cannot

prove reputational harm caused by those defamatory statements. See Mot. at 3.

III.    Argument

        A.      ecMarket Need Not Prove Special Damages Or Reputational Harm

        Relying primarily on a single case from the Delaware Superior Court - Preston Hollow

Capital LLC v. Nuveen LLC, 2022 Del. Super. LEXIS 264 (Del. Super. June 14, 2022) (“Preston”)

- Elemica asserts it is entitled to summary judgment on ecMarket’s defamation claim because


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  Elemica also suggests that an adverse inference is appropriate because ecMarket failed to put an
official “litigation hold” in place. See Mot. at 12. Elemica, however, neglects to inform the Court
that ecMarket’s retention policy for email communications is “set to infinite,” and thus the lack of
an official “litigation hold” did not limit ecMarket’s search and production of all relevant and
responsive documents. See Ex. 18, p.15, l. 23 – p. 16, l.10, p.16, l.23 – p. 17, l.15; Ex. 19, p.25,
ll.8-24. Thus, there was no prejudice to Elemica due to the lack of an official “litigation hold.”


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ecMarket has not yet demonstrated special damages or reputational harm. Elemica is wrong. The

Delaware Supreme Court and multiple other decisions from the Delaware Superior Court have

held that a plaintiff need not prove special damages or reputational harm to obtain a judgment for

defamation per se and recover nominal, compensatory and/or punitive damages.

       In the seminal case of Spence v. Funk, the Delaware Supreme Court explained why

damages are presumed when a party makes a defamatory statement maligning one’s trade,

business, or profession.

       “The precise reason why the law presumes damages … is unclear, but each seems
       to involve circumstances to which it would be difficult to trace specific financial
       loss. [internal citation omitted] … One who is defamed in one of these ways might
       never know the extent of a lost opportunity to relate to and associate with others,
       because he could be avoided without knowing the reason and without having a
       chance to rebut the defamation.”

396 A.2d 967, 970 (Del. 1978).

       Further, the “scope of liability for libel is generally broader than for slander.” Id. Relying

on a prior Delaware Supreme Court decision in Rice v. Simmons, 2 Harr. 417 (Del. 1836), the

Spence court noted that protection against libel is broader than that it is against slander because:

       “(1) the written word leaves a more permanent blot on one’s reputation; (2) the
       written word is capable of wider circulation than that which is communicated
       orally; [and] (3) reducing a defamation to writing evidences greater deliberation
       and intention on the part of one who records it. While that analysis was made long
       ago by our highest Court, it remains generally valid today. The general rule is that
       any publication which is libelous on its face is actionable without pleading or proof
       of special damages. In other words, proof of damage proximately caused by a
       publication deemed to be libelous need not be shown in order for a defamed
       plaintiff to recover nominal or compensatory damages.”

Id. (emphasis added). 3




3
  In closing, the Spence court “recognize[d] that some of the Trial Court opinions may be
confusing, but this Court has never departed from or diluted the ruling of Rice v. Simmons. It is
the law in Delaware and any decision to the contrary is expressly overruled.” Id. at 972.


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        Shortly after its decision in Spence v. Funk, the Delaware Supreme Court reinforced:

        “[w]ith respect to actual damages, it is the law of Delaware that proof of damage
        proximately caused by a publication deemed to be libelous need not be shown in
        order for a defamed plaintiff to recover nominal or compensatory damages. This is
        true whether the defamatory nature is apparent on the face of the statement or can
        be ascertained only by reference to extrinsic facts. Therefore, as long as the jury
        finds that Dr. Kanaga is the victim of libel, she can recover actual damages. The
        amount, of course, is for the jury.

Kanaga v. Gannett Co., 687 A.2d 173, 182-3 (Del. 1996) (“Kanaga I”). Still further, a jury can

award a defamed plaintiff punitive damages if it demonstrates that the defendant acted with

reckless disregard for the truth of the published statements or with knowledge that the statements

were false. Id. at 183. In a subsequent ruling in Kanaga, the Delaware Supreme Court expressly

noted that the presumption of damages with respect to statements that “malign one in a trade,

business or profession” can lead to a separate “humiliation award” by the jury even without

evidence of reputational harm. Gannett Co. v. Kanaga, 750 A.2d 1174, 1184 (Del. 1998) (“Kanaga

II”).

        The majority of Delaware Superior and Chancery Court cases have appropriately applied

the law set forth by the Delaware Supreme Court in Spence and Kanaga. See e.g., Prof’l

Investigating & Consulting Agency, Inc. v. Hewlett-Packard Co. (“PICA”), 2014 Del. Super

LEXIS 458 (Del. Super. September 3, 2014) (denying defendant’s motion for summary judgment

on defamation claim); Del. Express Shuttle v. Older, 2002 Del. Ch. LEXIS 124, *85-87 (Del. Ch.

Oct. 23, 2002) (lack of demonstrating reputational harm does not mean that an element of the tort

of defamation per se has not been established or no damages are to be awarded). The Delaware

Superior Court’s decision in PICA is particularly instructive and persuasive.

        In PICA, the plaintiff (“PICA”) alleged that employees of defendant (Hewlett-Packard

Company (“HP”)) made defamatory statements to PICA’s clients that maligned PICA’s business




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performance and reputation. See PICA, at *28-29. In response to HP’s motion for summary

judgment, PICA argued that it could recover humiliation damages even without proving that the

comments directly or proximately caused the loss of business. Id. at *31. In denying HP’s motion

for summary judgment, the PICA court looked for guidance from both Kanaga II and Spence:

       “In [Kanaga II], the Delaware Supreme Court found that ‘under Delaware law,
       injury to reputation is permitted without proof of special damages.’ The [Kanaga
       II] Court looked to Spence v. Funk, which established that there is a presumption
       of damages with respect to defamatory statements that ‘malign one in a trade,
       business or profession.’ The jury in Kanaga awarded $2.6 million dollars for ‘actual
       damages,’ without distinguishing humiliation damages from economic damages.
       The Kanaga Court found that the presumption established in Spence v. Funk would
       have sustained a ‘separate humiliation award in this case had one been rendered.’”

Id. (emphasis added). The PICA court held PICA had established a prima facie case of defamation

and need not prove economic injury where the “defamatory [] statements malign PICA’s trade or

business, because damages are presumed under the circumstances.” Id. at *32.

       The Preston court conceded that harm to one’s reputation would “normally be presumed

to flow” from a defamatory per se statement, but still held a plaintiff must provide evidence of

diminution in reputation. Preston, at *8-9. This holding is not supported by Delaware law nor

would it be fair to force a defamed plaintiff like ecMarket to “trace specific financial loss” where

“one who is defamed [by a per se defamatory statement] might never know the extent of a lost

opportunity to relate to and associate with others, because he could be avoided without knowing

the reason and without having a chance to rebut the defamation.” See Spence, 396 A.2d at 970. 4




4
 Elemica also cites Q-Tone Broadcasting, Co. v. Musicradio. See Mot. at 7. However, in denying
the defendants’ motion to dismiss, the Q-Tone court found that allegedly defamatory per se
statements supported a prima facie case of libel, and therefore, the “Court need not reach the issue
of Plaintiffs’ special damages.” 1994 Del. Super. LEXIS 453 at *18-19 (Del. Super. Aug. 22,
1994).


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       At trial, ecMarket will demonstrate that Elemica’s defamatory per se statements maligning

ecMarket’s business were false and made with reckless disregard for their truth. Summary

judgment should be denied, and the jury should determine the appropriate damages.

       B.      Elemica Agreed Not To Deactivate The Specific Maps

       ecMarket agreed to provide a discount to Elemica contingent upon Elemica not removing

the Specific Maps from the Production Environment. Elemica also agreed not to deactivate the

Specific Maps, as reflected in Mr. Squillacioti’s April 9, 2019 email to Mark Toffoli and confirmed

during discovery by Elemica’s own witnesses, who testified that the deal reached by the parties on

April 9, 2019 never changed. Other than Amendment #6, the documents and deposition testimony

do not support Elemica’s claim that it was entitled to a discount regardless as to whether the

Specific Maps remained in the Production Environment.

       Elemica ignores the evidence obtained through discovery and seeks summary judgment on

ecMarket’s breach of contract claim. However, this evidence cannot and should not be ignored.

Indeed, Amendment #6 is not a fully integrated contract, and thus the Court can consider extrinsic

evidence to determine the parties’ full and complete agreement – an agreement breached by

Elemica.

       ecMarket respects this Court’s initial finding that the term “1,300” is unambiguous. See

Dkt. 51 at 5. However, the evidence obtained through discovery revealed and confirmed that the

term “1,300” was a reference to the Specific Maps that Elemica agreed not to deactivate in

exchange for receiving a discount. The deal reached via email on April 9, 2019 never changed

before the parties executed Amendment #6. Even Elemica’s own in-house counsel (who signed

Amendment #6 on behalf of Elemica) after receiving the draft addendum wrote back to “confirm

that the 1300 Dorman[] Maps is [sic] counted as in Production…” See Ex. 6.




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        Elemica not only ignores this undisputed evidence, but it also asks the Court to do the same

so that Elemica receives a windfall result. The Court, however, may consider extrinsic evidence

that supplements a contract when, as is the case here, the contract is not completely integrated. See

McKinney Family L.P. v. Stubbs, 2007 Del. LEXIS 291, *6 n.9 (Del. July 2, 2007) (internal

quotation omitted) (parol evidence rule does not prohibit “supplementation of partially integrated

contracts by evidence of an oral agreement that is consistent with, and does not contradict, the

writing.”) “The parol evidence rule attaches legal consequences to an integrated contract—a

contract that is the only agreement between the parties on a specific topic.” SodexoMAGIC, LLC

v. Drexel Univ., 24 F.4th 183, 212 (3rd Cir. 2022). Amendment #6 was not the only agreement

reached by the parties relating to the Specific Maps.

        In determining whether a writing proposed as a contract is totally integrated, several factors

are considered including: “(i) the parties’ intent, to the extent it is discernible, (ii) the language of

the contract, including any integration clause, (iii) whether the contract carefully and formally was

drafted, (iv) the time the parties had to consider the contract’s terms, (v) whether the parties

bargained over specific terms, and (vi) whether the contract addresses questions that naturally arise

out of the subject matter. James v. United Med. LLC, 2017 Del. Super. LEXIS 161, *13 (Del.

Super. Mar. 31, 2017); see also Taylor v. Jones, 2002 Del. Ch. LEXIS 152, *12 (Del. Ch. Dec. 17,

2002) (court considered conflicting extrinsic evidence even though writing, on its face, appeared

complete).

        Neither Amendment #6 nor the underlying Rollout Agreement contain an integration

clause. See Mot. at Exs. C, D. All the evidence of the prior negotiations leading to the execution

of Amendment #6 is set forth through the email communications leading to Elemica’s written

confirmation that it agreed to “Option 1.” See Ex. 5. There is no evidence in the record supporting




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any reason why ecMarket would agree to provide a blanket discount to Elemica or why Elemica

would be entitled to such a discount without regard to the deactivation of the Specific Maps set

forth in Elemica’s own April 1, 2019 excel spreadsheet. See Ex. 3. The “complete expression” of

the parties’ agreement includes the email communications that accompanied ecMarket’s delivery

of the proposed draft addendum. See Ex. 6; see also Stubbs, 2007 Del. LEXIS 291 at *6 (admitting

map attached to written portion of agreement to supplement terms in the writing). Elemica cannot

point to any evidence in the record to the contrary.

       Amendment #6 is not a fully integrated contract, as it does not contain all of the parties’

bargained for specific terms nor does it answer the questions that have naturally arisen when

Elemica deactivated the Specific Maps. While 1,300 may be a static number, the Court can

consider whether that static number corresponded to the Specific Maps and whether the parties

intended to agree (and did, in fact, agree) that Elemica would not deactivate those Specific Maps.

The evidence in the record demonstrates there was no mutual assent for Amendment #6 to be the

complete and accurate integration of the parties’ agreement. Considering the evidence of the

parties’ actual intent, ecMarket has, at a minimum, demonstrated that there is a genuine issue of

material fact precluding summary judgment on ecMarket’s claim for breach of contract.

       C.      Conexiom Did Not Waive Elemica’s Contractual Obligation
               Not To Deactivate The Specific Maps In The Production Environment

       Elemica argues that ecMarket waived the requirement that Elemica not deactivate the

Specific Maps. There is not, however, evidence that ecMarket intentionally relinquished its right

to enforce this material term in the parties’ agreement. At minimum, there is a genuine issue of

material fact as to whether ecMarket intended to waive this requirement.

       “It is well settled in Delaware that a party may waive contractual requirements or

conditions.” Bantum v. New Castle County Vo-Tech, Educ. Ass'n, 21 A.3d 44, 50 (Del. 2011). “But



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the standards for demonstrating waiver – are ‘quite exacting.’” Id. (citing AeroGlobal Capital

Mgmt., LLC v. Cirrus Indus., Inc., 871 A.2d 428, 444 (Del. 2005). Waiver implies knowledge of

all material facts and an intent to waive, as well as a willingness to refrain from enforcing those

rights. Id. The three elements of the waiver doctrine are: (1) a requirement or condition capable of

being waived; (2) the waiving party knows of that requirement or condition; and (3) the waiving

party intends to waive that requirement or condition. Id. “The facts relied upon to demonstrate

waiver must be unequivocal.” Id.

       Elemica argues that ecMarket intended to waive this requirement because it alone had the

ability to deactivate a trading partner and because ecMarket had to “approve” Elemica’s

deactivation requests. See Mot. at 11. However, Elemica’s ex post facto description of the parties’

relationship and what occurred in practice does not withstand scrutiny. There is no dispute that

Elemica had thousands of trading partners, i.e., “SpokeCos,” in ecMarket’s Production

Environment. See Ex. 13. At times, Elemica would submit deactivation requests to ecMarket’s

mapping department. See Ex. 22, ¶ 15. In the normal and ordinary course, those working in the

mapping department would routinely fulfill those requests without seeking approval from anyone

within management at ecMarket. Id. There is no evidence that it was incumbent upon ecMarket to

ensure that Elemica did not deactivate the Specific Maps. The responsibilities of those ecMarket

employees in the mapping department would be to fulfill Elemica’s deactivation requests in the

normal course and not question Elemica’s right to do so. Id. The mapping department’s fulfillment

of an Elemica request to deactivate a Specific Map was, at most, inadvertent. It is not evidence of

an intentional relinquishment of Elemica’s obligation not to deactivate the Specific Maps.

       Elemica’s reliance on internal ecMarket emails in October and November 2020 (see Mot.

at Ex. P) belies Elemica’s argument. Those communications further evidence the parties’




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agreement that a specific list of SpokeCos would remain in the Production Environment because

otherwise “if an order came in for a deactivated spokeco, the order would be lost.” Id. at ECM 054

(Halverson 11/9/20 email at 7:26 p.m.). In that same email chain, Brent Halverson confirmed the

intent of Amendment #6 was to “negotiate[] a one time arrangement for so many spokecos where

we would not have to deactivate any of them, an[d] orders [for these spokecos] would still get

processed. [Halverson] considered low risk any orders would come in for these spokecos.” Id.

(emphasis added). Nothing in these internal email communications evidence an intent to waive the

requirement for “these spokecos” to remain in ecMarket’s Production Environment.

       While ecMarket may not have immediately recognized that Elemica was breaching the

agreement by initiating the deactivation of most of the Specific Maps, ecMarket’s delayed

recognition of the breach does not equate to an intentional relinquishment of its right to enforce

the parties’ agreement. At minimum, whether ecMarket intended to waive this requirement is a

factual dispute, and Delaware courts have held that it is for the trier of fact to decide whether the

waiving party’s conduct evidenced an intentional, conscious, and voluntary abandonment of its

claim or right. See George v. Frank A. Robino, Inc., 334 A.2d 223, 224 (Del. 1975); see also

AeroGlobal Capital Mgmt., LLC v. Cirrus Indus., 871 A.2d 428, 446 (Del. 2005) (“where the

inference and ultimate fact to be established concerns intent or other subjective reaction, summary

judgment is ordinarily inappropriate.”)

       D.      There Was No Spoliation Of “Critical Evidence” By ecMarket

       Elemica seeks an undefined “adverse inference” because ecMarket deleted certain Elemica

data, which Elemica argues is “critical evidence.” See Mot. at 12-13. Elemica asserts the evidence

in the database is “relevant … because there is no documentary evidence of who requested trading

partners to be deactivated, when the deactivations occurred, who performed the deactivations, or

which trading partners were deactivated, if any.” Id. at 12. Elemica’s claim is demonstrably untrue.


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       “Spoliation occurs where: [1] the evidence was in the party’s control, [2] the evidence is

relevant to the claims and defenses in the case, [3] there has been actual suppression or withholding

of evidence, and [4] the duty to preserve the evidence was reasonably foreseeable to the party.”

Bull v. United Parcel Serv., Inc., 665 F.3d 68, 73 (3d Cir. 2012). Sanctionable spoliation requires

the party moving for the adverse interest show that the other party acted in bad faith. Id. at 79.

“Such an adverse presumption or inference arises only when the spoliation or destruction of

evidence was intentional, and indicates fraud and a desire to suppress the truth, and it does not

arise where the destruction was a matter of routine with no fraudulent intent.” Id.

       Pursuant to Federal Rule of Civil Procedure 37(e)(2), an adverse inference for the failure

to preserve electronically stored information is only appropriate when, inter alia¸ the allegedly lost

information cannot be restored or replaced through additional discovery, a party has been

prejudiced and “upon a finding that the party acted with the intent to deprive another party of the

information’s use in the litigation . . .” See Fed. R. Civ. P. 37(e)(2). Here, there is no evidence of

any intent to suppress the truth, there is no unfair prejudice to Elemica and there is evidence

proffered supporting ecMarket’s claims.

       During discovery, ecMarket produced an excel spreadsheet detailing the number of

Specific Maps deactivated, which Specific Maps were deactivated and when those deactivations

occurred. See Ex. 17. Mr. Cadigan explained the data in his spreadsheet, what it meant and the

source documents he used to obtain the relevant information and perform his analysis. See Ex. 22,

¶ 10. Those source documents included billing reports and invoices that ecMarket sent to Elemica

during the term of the parties’ contractual relationship and produced again during this litigation.

Id., ¶¶ 10, 12. Thus, there is concrete, undisputed evidence in the record demonstrating: (i) which

Specific Maps were deactivated; (ii) when those Specific Maps were deactivated; (iii) who




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requested the deactivations of the Specific Maps; and (iv) who fulfilled Elemica’s deactivation

requests. Elemica has not proffered any evidence disputing these facts.

       ecMarket’s deletion of certain Elemica data was done in the ordinary course of its business

and for legitimate business reasons including, but not limited to, avoiding the risk of a data breach.

As explained in the Cadigan Affidavit, ecMarket maintained a “colocation facility,” which was an

off-site facility, i.e., a data center, containing ecMarket computers configured to provide the

Conexiom solution to all of ecMarket’s clients including Elemica. See Ex. 22, ¶ 3. There was one

main database (the “ERPLink Database”) located at this facility for servicing all of ecMarket’s

clients. Id. Within the ERPLink Database, there was a logical separation for data particular to

Elemica (the “Elemica Data”). Id.

       In or around July 2021, ecMarket started a customer migration from the Colocation Data

Center to the Azure Cloud. Id., ¶ 4. That customer migration to the Azure Cloud was not fully

completed until March 2023. Id. The Elemica Data was not part of that migration. Id., ¶ 5.

       On or about March 1, 2022, at the end of the parties’ contractual relationship, ecMarket

deactivated the Elemica portals within the ERPLink Database. Id. In or around July 2022, after the

normal three (3) month retention period and to minimize data breach risk, ecMarket deleted the

Elemica Data from the ERPLink Database. Id. The Elemica Data included documents that Elemica

and/or its customers had previously provided to ecMarket for the purpose of having ecMarket

extract information from the purchase orders and deliver that information to Elemica for additional

transformation. Id. Until approximately July 2023, ecMarket maintained a “back up file” of the

Elemica Data deleted from the ERPLink Database. Id., ¶ 6.

       Critically, the original billing reports and invoices used to create ecMarket’s spreadsheet

(Ex. 17) had been extracted from the ERPLink Database before any deactivation, deletion, or




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destruction of any Elemica Data. Id., ¶ 13. Thus, Elemica has not been prejudiced by the deletion

of the Elemica Data. Moreover, Elemica could proffer evidence of its own (through testimony,

email communications or otherwise) that it did not request the deactivation of most of the Specific

Maps, but it has not done so. To date, however, Elemica has made no effort to determine whether

it deactivated the Specific Maps. See Ex. 7 (Delizia), p. 148, l.24 – p. 149, l.8.

       Elemica seeks an “adverse inference,” but fails to demonstrate any fraudulent intent by

ecMarket (as there was none), explain what that adverse inference would be or what critical

evidence benefitting Elemica could only be found within the Elemica Data. Elemica could also

proffer its own evidence that it did not deactivate most of the Specific Maps but has not done so.

Elemica has not demonstrated spoliation or an entitlement to an adverse inference and Elemica’s

request for any adverse inference should be denied.

       E.      Elemica Breached The Parties’ Agreement

       At trial, ecMarket will demonstrate that Elemica owes ecMarket $318,926.27 for

outstanding invoices not yet paid in full. See Exs. 12, 13 & 15. Elemica does not dispute that

calculation in its Motion nor does Elemica proffer any evidence that it has paid ecMarket in full

even under Elemica’s interpretation of the parties’ agreement.

       Assuming arguendo that Elemica can demonstrate at trial that it was entitled to a discount

under all circumstances (which it was not), Elemica still breached the parties’ agreement and owes

ecMarket $20,330.10. See Exs. 15, 16. In any event, Elemica is not entitled to summary judgment

on ecMarket’s breach of contract claim.

 Dated: April 29, 2024                                K&L GATES LLP
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